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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

LARRY JEFFERSON GREEN,                   )
                                         )
             Plaintiff,                  )
                                         )
       v.                                )      CASE NO. 1:20-CV-568-WKW
                                         )                [WO]
ADAM ZHEA, et al.,                       )
                                         )
             Defendants.                 )

                                     ORDER

      On August 21, 2020, the Magistrate Judge filed a Recommendation to which

no timely objections have been filed. (Doc. # 5.) Upon an independent review of

the record, it is ORDERED that the Recommendation is ADOPTED and that the

Plaintiff’s claims against the Houston County Sheriff’s Department are dismissed

with prejudice pursuant to 28 U.S.C. § 1915A(b)(1). This action with respect to the

remaining claims are referred back to the Magistrate Judge for further proceedings.

      DONE this 11th day of September, 2020.


                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE
